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Attorneys for Defendant Robert Allaire



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


    LICATA RISK & INSURANCE ADVISORS,
    INC., D/B/A LICATA RISK ADVISORS,

                 Plaintiff

                                                            Case 1:18-cv-10946

    ROBERT ALLAIRE,

                 Defendant.

    ASSENTED-TO MOTION FOR LEAVE TO REPLY TO PLAINTIFF’S OPPOSITION
          TO DEFENDANT’S MOTION TO DISMISS ON THE GROUNDS OF
                        FORUM NON CONVENIENS

        Pursuant to Local Rule 7.1, Defendant Robert Allaire (“Mr. Allaire”) respectfully moves

this Court for leave to submit a Reply to the Plaintiff’s Opposition to his Motion to Dismiss the

Complaint on the grounds of forum non conveniens. Plaintiff has assented to this Motion.

        The facts and legal authorities in support of this motion are set forth in the Memorandum

of Law filed herewith.




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                                                     Respectfully Submitted,

                                                     ROBERT ALLAIRE,
                                                     By his attorneys,



                                                     /s/ Patricia Washienko_____________
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Dated: June 18, 2018




                                CERTIFICATE OF SERVICE

        In accordance with Local Rule 5.2(b) and Section E.2 of the Electronic Case Filing
Administrative Procedures of the United States District Court for the District of Massachusetts, I,
Patricia Washienko, hereby certify that on June 18, 2018, the within Motion To Dismiss filed
through the ECF system will be sent electronically to registered participants as identified on the
Notice of Electronic Filing.



                                      /s/ Patricia Washienko
                                      Patricia A. Washienko, Esq.




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